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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

UNITED STATES OF AMERICA

      vs.                                  Criminal Action 2:20-cr-175
                                           JUDGE JAMES L. GRAHAM
ARNOLD C. CASTLE

                         REPORT AND RECOMMENDATION

      The United States and defendant Arnold C. Castle entered into a
plea agreement, executed pursuant to the provisions of Rule
11(c)(1)(A) of the Federal Rules of Criminal Procedure, whereby
defendant agreed to enter a plea of guilty to an Information charging
him with theft of government property in violation of 18 U.S.C. § 641
(Count 1), and misappropriation of postal funds in violation of 18
U.S.C. § 1711 (Count 2). Information, ECF No. 1.1         On November 4, 2020,
defendant, assisted by his counsel, participated in an initial
appearance, arraignment, and entry of guilty plea proceeding.
      After being advised of his right to appear personally and with
his counsel and after consulting with his counsel, defendant consented
to appear by videoconference.
      Defendant waived his right to an indictment in open court and
after being advised of the nature of the charges and of his rights.
See Fed. R. Crim P. 7(b).
      Defendant consented, pursuant to 28 U.S.C. §636(b)(3), to enter a
guilty plea before a Magistrate Judge.       See United States v. Cukaj, 25
Fed.Appx. 290, 291(6th Cir. 2001)(Magistrate Judge may accept a guilty
plea with the express consent of the defendant and where no objection
to the report and recommendation is filed).


      1 Under the Plea Agreement, ECF No. 2, defendant agreed to a restitution
obligation. The Plea Agreement also includes an appellate waiver provision
that preserves only certain claims for appeal or collateral challenge.


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     During the plea proceeding, the undersigned observed the
appearance and responsiveness of defendant in answering questions.
Based on that observation, the undersigned is satisfied that, at the
time he entered his guilty plea, defendant was in full possession of
his faculties, was not suffering from any apparent physical or mental
illness and was not under the influence of narcotics, other drugs, or
alcohol.
     Prior to accepting defendant’s plea, the undersigned addressed
defendant personally and in open court and determined his competence
to plead.   Based on the observations of the undersigned, defendant
understands the nature and meaning of the charges in the Information
and the consequences of his plea of guilty to those charges.
Defendant was also addressed personally and in open court and advised
of each of the rights referred to in Rule 11 of the Federal Rules of
Criminal Procedure.
     Having engaged in the colloquy required by Rule 11, the Court
concludes that defendant’s plea is voluntary.         Defendant acknowledged
that the plea agreement signed by him, his attorney and the attorney
for the United States and filed on October 5, 2020, represents the
only promises made by anyone regarding the charges in the Information.
Defendant was advised that the District Judge may accept or reject the
plea agreement and that, even if the Court refuses to accept any
provision of the plea agreement not binding on the Court, defendant
may nevertheless not withdraw his guilty plea.
     Defendant confirmed the accuracy of the statement of facts
supporting the charges, which is attached to the Plea Agreement.            He
confirmed that he is pleading guilty to Counts 1 and 2 of the
Information because he is in fact guilty of those offenses.           The Court
concludes that there is a factual basis for the plea.
     The Court concludes that defendant’s plea of guilty to Counts 1
and 2 of the Information is knowingly and voluntarily made with
understanding of the nature and meaning of the charges and of the
consequences of the plea.
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     It is therefore RECOMMENDED that defendant’s guilty plea to
Counts 1 and 2 of the Information be accepted.         Decision on acceptance
or rejection of the plea agreement was deferred for consideration by
the District Judge after the preparation of a presentence
investigation report.
     In accordance with S.D. Ohio Crim. R. 32.1, and as expressly
agreed to by defendant through counsel, a written presentence
investigation report will be prepared by the United States Probation
Office.    Defendant will be asked to provide information; defendant’s
attorney may be present if defendant so wishes.         Objections to the
presentence report must be made in accordance with the rules of this
Court.
     If any party seeks review by the District Judge of this Report
and Recommendation, that party may, within fourteen (14) days, file
and serve on all parties objections to the Report and Recommendation,
specifically designating this Report and Recommendation, and the part
thereof in question, as well as the basis for objection thereto.            28
U.S.C. §636(b)(1); F.R. Civ. P. 72(b).       Response to objections must be
filed within fourteen (14) days after being served with a copy
thereof.   F.R. Civ. P. 72(b).
     The parties are specifically advised that failure to object to
the Report and Recommendation will result in a waiver of the right to
de novo review by the District Judge and of the right to appeal the
decision of the District Court adopting the Report and Recommendation.
See United States v. Wandahsega, 924 F.3d 868, 878 (6th Cir. 2019);
Thomas v. Arn, 474 U.S. 140 (1985).




November 4, 2020                                s/ Norah McCann King
 Date                                            Norah McCann King
                                           United States Magistrate Judge




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